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lN THE UNITED sTATEs DISTRICT CoUiYP3 B*'~' ‘"

FOR THE WESTERN DISTRICT oF TENNESS%;]J=U 29 FM 2: \-|
WESTERN DIVISION 0

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Diane Faria 'V W’D w mt _“;~_\..
Appellant,

v. Case No.: 21050V2405

Jo Anne B. Barnhart, Commissioner of Social Seeu.rity

Appellee.

 

ORDER SETTING SCHEDUL]NG IN SOCIAL SECURITY CASE

 

The issues in the above-referenced matter having been joined, it is hereby ordered that the
following schedule shall be followed:

l. Appellant shall file a brief in support of the asserted claim within 30 days of the
entry hereof.

2. Appellee’s brief in response shall be filed within 30 days of the filing of
appellant’s brief

3. Reply brief may be filed Within 10 days of the filing of appellee’s response brief.
No further briefs shall be filed Without leave of Court.
Entered this 29 day of June, 2005.

THOMAS M. GOULD, CLERK

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Th!s document entered on the docket sheetl comgllance
with ama 53 and/or 79(3) FHCP on fe 12 §1; 2

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02405 Was distributed by faX, mail, or direct printing on
June 29, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

